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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 Masih Alinejad



                                 Plaintiff,

                       vs.

 The Islamic Republic of Iran et al.,              Case Number: 1:19-cv-03599-GMH



                               Defendants.


      PLAINTIFF’S MEMORANDUM ON THE ADMISSIBILITY OF EVIDENCE

                                        INTRODUCTION

Counsel hopes that this Memorandum on the Admissibility of Evidence will assist the Court in
understanding the issues involved in Plaintiff’s Motion for Default Judgment.

                                  INDIVIDUAL EXHIBITS

       The exhibits and the grounds for their admission are as follows:

      Exhibit No.                             Legal Grounds of Admissibility

                         This exhibit is offered under Rule 803(3) as proof of the close, loving
  1 - Declaration of     relationship between Plaintiff and Mr. Alireza Alinejad, and Plaintiff’s
  Masih Alinejad         suffering.

                         Also, much of it is not offered for the truth of the matter asserted.
                         This exhibit is offered under Rule 803(3) as proof of the close, loving
  2 - Declaration of     relationship between Plaintiff and Mr. Alireza Alinejad, and Plaintiff’s
  Kambiz Foroohar        suffering.

                         Also, much of it is not offered for the truth of the matter asserted.
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                        This exhibit is offered under Rule 803(3) as proof of the close, loving
3 – Declaration of      relationship between Plaintiff and Mr. Alireza Alinejad, and Plaintiff’s
Roya Hakakian           suffering.

                        Also, much of it is not offered for the truth of the matter asserted.
                        This exhibit is offered under Rule 803(3) as proof of the close, loving
4 – Declaration of      relationship between Plaintiff and Mr. Alireza Alinejad, and Plaintiff’s
Ramin Ahmadi            suffering.

                        Also, much of it is not offered for the truth of the matter asserted.
                        This exhibit is offered under Rule 803(3) as proof of the close, loving
5 – Declaration of      relationship between Plaintiff and Mr. Alireza Alinejad, and Plaintiff’s
Mehrangiz Kar           suffering.

                        Also, much of it is not offered for the truth of the matter asserted.

6 – Masih Alinejad
                        This certificate is offered under Rule 803(9) as evidence of Plaintiff’s
Certificate of
                        U.S. citizenship.
Naturalization


7 - Photo of Masih
Alinejad and her        This photograph is offered under Rule 803(3) and as evidence of
brother Alireza on a    Plaintiff’s and Mr. Alinejad’s close relationship.
rice farm in the
village                 This photograph is genuine, and the original photograph is not
of Ghomikola, Iran      available.
in 2007


8 – Swiss Embassy
Certification of
                        This exhibit is offered to fulfill this Court’s procedural requirements.
Service of Process
on Defendants

9 – Plaintiff’s Offer
to Arbitrate and
Electronic U.S.P.S.     This exhibit is offered to fulfill this Court’s procedural requirements.
Certified Mail
Return Receipt
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10 - Nahid
Siamdoust, “‘Jesus’     This exhibit is not offered for the truth of the matter asserted but as
vs. Ahmadinejad”,       contextual insight into Plaintiff’s career and political activities.
TIME (May 7, 2008)

11 - Masih Alinejad
Profile, STRIVING       This exhibit is not offered for the truth of the matter asserted but as
FOR HUMAN               contextual insight into Plaintiff’s career and political activities.
RIGHTS

12 - Julia Carpenter,
“Iranian Women
Shed Hijabs for
‘Stealthy Freedom’      This exhibit is not offered for the truth of the matter asserted but as
Facebook Page”,         contextual insight into Plaintiff’s career and political activities.
THE WASHINGTON
POST (May 16,
2014)

13 - “My Stealthy
Freedom” group          This exhibit is not offered for the truth of the matter asserted but as
page,                   contextual insight into Plaintiff’s career and political activities.
FACEBOOK.COM

14 - “Iranians
Protest Over Acid
Attacks on Women,       This exhibit is not offered for the truth of the matter asserted, but to
Apparently for Not      provide insight into the historical context of the Islamic Republic’s
Wearing Veils”          conduct.
ABC NEWS (Oct. 22,
2014)
15 - “Secretary
Pompeo’s Meeting
with Iranian
Women’s Rights
                        This exhibit is not offered for the truth of the matter asserted but as
Activist Masih
                        contextual insight into Plaintiff’s career and political activities.
Alinejad”, Press
Statement, U.S.
DEP’T OF STATE
(Feb. 4, 2019)
16 - Sonia Elks,
“Iranian Women          This exhibit is not offered for the truth of the matter asserted but as
Defy Prison Threats     contextual insight into Plaintiff’s career and political activities, and into
by Sending Veil         the historical context of the Islamic Republic’s conduct.
Photos:
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Activist”, REUTERS
(July 31, 2019)
17 - U.S.
Department of State,
Bureau of
                        This official and public report is offered under Rules 803(8) and
Democracy, Human
                        803(20) to support assertions of historical record.
Rights, and Labor,
2019 Custom Report      Also, much of it is not offered for the truth of the matter asserted.
Excerpts: Iran,
Human Rights
Reports
18 - Julia Carpenter,
“Iranian journalist
faces threats, false
                        This exhibit is not offered for the truth of the matter asserted but as
report of rape after
                        contextual insight into Plaintiff’s career and political activities, and into
viral Facebook
                        the historical context of the Islamic Republic’s conduct.
success”, THE
WASHINGTON POST
(June 7, 2014)
19 - Freda Kahen-
Kashi, “Iranian
Journalist
                        This exhibit is not offered for the truth of the matter asserted but as
Denounced as
                        contextual insight into Plaintiff’s career and political activities, and into
‘Whore’ Amid
                        the historical context of the Islamic Republic’s conduct.
Women’s Rights
Campaign”, ABC
NEWS (June 5, 2014)
                        This transcript is offered under Rule 803(3) as evidence of the close,
                        loving relationship between Plaintiff and Mr. Alinejad.
20 – Alireza
Youtube video
                        It is also offered as contextual insight into Plaintiff’s career and
transcript (English)
                        political activities, and into the historical context of the Islamic
                        Republic’s conduct.

21 - Alireza Alinejad This exhibit is offered under Rule 803(22) as evidence of the
Order and English     proceedings and judgment of the Islamic Republic of Iran against Mr.
translation           Alinejad.

22 - “Prison for
Iranian Woman
Rights Activists        This exhibit is offered to provide contextual insight into the timeline of
Confirmed,              events in this case.
Alinejad’s Appeal       Also, much of it is not offered for the truth of the matter asserted.
Denied”, IRAN
INT’L, Feb. 13, 2021
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23 - Annual Report
                        This report is offered to demonstrate historical records of the Islamic
on Iran, Amnesty
                        Republic of Iran’s conduct.
Int’l (2019)



24 - Javaid Rehman
(Special Rapporteur
on the situation of
human rights in the     This official and public report is offered under Rules 803(8) to provide
Islamic Republic of     legal opinions of the U.N. Special Rapporteur on the situation of human
Iran), Situation of     rights in the Islamic Republic of Iran formed while carrying out their
human rights in the     legal duty to record on their work under human rights law.
Islamic Republic of     Also, much of it is not offered for the truth of the matter asserted.
Iran, U.N. Doc.
A/HRC/43/61 (Jan.
28, 2020)
25 - “Iran: Cruel
campaign to extract
propaganda
                     This exhibit is not offered for the truth of the matter asserted but as
‘confessions’ from
                     contextual insight into Plaintiff’s career and political activities, and into
protesters against
                     the historical context of the Islamic Republic’s conduct.
compulsory veiling”,
AMNESTY INT’L
(July 15, 2019)

26 - “Iran: Family of
Women’s Rights
Activist Arrested in
                      This exhibit is not offered for the truth of the matter asserted but as
Despicable Attempt
                      contextual insight into Plaintiff’s career and political activities, and into
to Intimidate Her
                      the historical context of the Islamic Republic’s conduct.
into Silence”,
AMNESTY INT’L
(Sept. 25, 2019)

27 - “Like the Dead
in Their Coffins”:
Torture, Detention,
and the Crushing of     This report is offered to demonstrate historical records of the Islamic
Dissent in Iran,        Republic of Iran’s conduct.
Human Rights
Watch Vol. 16 No.
2(E), June 2004
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28 - “Exiled
Journalists
Threatened,
Pressured and
Defamed from           This exhibit is not offered for the truth of the matter asserted but as
inside Iran”           contextual insight into Plaintiff’s career and political activities, and into
REPORTERS              the historical context of the Islamic Republic’s conduct.
WITHOUT BORDERS
(Oct. 3, 2013 –
Updated on Jan. 20,
2016)


29 - U.S.
Department of State,
                       This exhibit is offered to fulfill this Court’s procedural requirements.
State Sponsors of
Terrorism




30 - U.S.
Department of State,   This official and public report is offered under Rules 803(8) and
2019 Country           803(20) to support assertions of historical record.
Reports on             Also, much of it is not offered for the truth of the matter asserted.
Terrorism


31 - Iran Action
Group, “Outlaw
Regime: A              This official and public report is offered under Rules 803(8) and
Chronicle of Iran’s    803(20) to support assertions of historical record.
Destructive
Activities”, U.S.      Also, much of it is not offered for the truth of the matter asserted.
Department of State
(2018)
32 - “Amnesty
International
Accuses Iran of
‘Blatant’              This exhibit is not offered for the truth of the matter asserted but as
Intimidation of        contextual insight into Plaintiff’s career and political activities, and into
Activist with          the historical context of the Islamic Republic’s conduct.
Arrests”, RADIO
FREE EUROPE (Sept.
26, 2019)
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                        This exhibit is not offered for the truth of the matter asserted but as
33 - “Brother of
                        contextual insight into Plaintiff’s career and political activities, and into
Anti-Hijab Activist
                        the historical context of the Islamic Republic’s conduct.
Sentenced to Eight
Years in Iran”,
                        It is also offered to provide contextual insight into the timeline of
RADIO FARDA (July
                        events in this case.
16, 2020)


34 –
@AlinejadMasih,
TWITTER (Feb. 13,
                      This exhibit is not offered for the truth of the matter asserted but as
2021 at 1:12 PM),
                      contextual insight into Plaintiff’s career and political activities, and into
https://twitter.com/A
                      the historical context of the Islamic Republic’s conduct.
linejadMasih/status/
1360653013707333
634)

35 - FIDH/Justice
for Iran, Orwellian
State: Islamic
Republic of Iran’s      This report is offered to demonstrate historical records of the Islamic
State Media as a        Republic of Iran’s conduct.
Weapon of Mass
Suppression, No.
749a (June 2020)

36 - Masih Alinejad,
“Iran’s Basij
promised to butcher
me for fighting         This exhibit is offered as proof of evidence, via a firsthand account, of
compulsory hijab”,      the impact of Defendant’s targeting of Plaintiff.
THE
WASHINGTON
POST (March 28,
2018)

37 - “Iran: UN
experts condemn
execution of            This exhibit is offered to demonstrate historical records of the Islamic
Ruhollah Zam”,          Republic of Iran’s conduct.
OHCHR (Dec. 14,
2020)
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38 - Masih Alinejad,
“Iranian Officials
Have Declared They
Want to Kidnap Me.       This exhibit is offered as proof of evidence, via a firsthand account, of
It’s Happened to         the impact of Defendant’s targeting of Plaintiff.
Others Before.” THE
WASHINGTON POST
(Aug. 10, 2020)


39 - Documentation
of Twitter Threats:
@AlinejadMasih,
TWITTER (Aug. 3,         This exhibit is offered as proof of evidence, via a firsthand account, of
2020 at 10:13 AM)        the impact of Defendant’s targeting of Plaintiff.
https://twitter.com/A
linejadMasih/status/
1290291711692795
905
40 - Roya Hakakian,
“Opinion: He Chose
Jail Over Disowning      This exhibit is offered to provide contextual insight into the timeline of
His Sister—and Set       events in this case.
an Example for All
His Countrymen”,         Also, much of it is not offered for the truth of the matter asserted.
THE WASHINGTON
POST (May 1, 2020)
41 - “Iranian
Intelligence Officials
Indicted on
                         This exhibit is not offered for the truth of the matter asserted but as
Kidnapping
                         contextual insight into Plaintiff’s career and political activities, and into
Conspiracy
                         the historical context of the Islamic Republic’s conduct.
Charges” THE U.S.
DEP’T OF JUSTICE
(July 13, 2021)
42 - UN Special          This official and public report is offered under Rules 803(8) and
Rapporteur Report        803(20) to to support assertions of historical record.
on Human Rights in
Iran (2021)              Also, much of it is not offered for the truth of the matter asserted.
43 - Report of the       This official and public report is offered under Rules 803(8) to provide
Special Rapporteur,      legal opinions of the U.N. Special Rapporteur on torture and other
“Torture and other       cruel, inhuman or degrading treatment or punishment formed while
cruel, inhuman or        carrying out their legal duty to record on the topic of “psychological
degrading treatment      torture” under human rights law.
or punishment”
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(Mar. 20, 2020)         Also, much of it is not offered for the truth of the matter asserted.
U.N. Doc.
A/HRC/43/49

44 - American Bar
Association, Report
No. 1 of the Section
of International Law
and Practice,           This official and public report is offered under Rules 803(20) to support
Presented Jointly       assertions of historical record.
with the Standing
Committee on            Also, much of it is not offered for the truth of the matter asserted.
World Order Under
Law and the Section
of Individual Rights
and Responsibilities
45 - Freedom from
Torture, “Turning a
Blind Eye: Why the
                        This report is offered to demonstrate historical records of the Islamic
international
                        Republic of Iran’s conduct.
community must no
longer ignore torture
in Iran” (Dec. 2017)
46 - Amnesty
International, “Iran:
Violations of Human     This report is offered to demonstrate historical records of the Islamic
Rights” (Jan. 1,        Republic of Iran’s conduct.
1987) MDE
13/09/87
                        This official and public report is offered under Rule 803(8) to provide
47 - 2010 Report of     legal opinions of the U.N. Special Rapporteur on torture and other
Special Rapporteur      cruel, inhuman or degrading treatment or punishment formed while
on Torture              carrying out his mandate.
(A/HRC/13/39)
                        Also, much of it is not offered for the truth of the matter asserted.
48 - Note by the
U.N. Secretary
General, Torture and    This official and public report is offered under Rules 803(8) and
other cruel, inhuman    803(20) to support assertions of historical records and provide legal
or degrading            opinions of the U.N. Secretary-General formed while carrying out his
treatment or            mandate.
punishment (July 28,    Also, much of it is not offered for the truth of the matter asserted.
2008), U.N. Doc.
A/63/175
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49 - Note by the
U.N. Secretary
General, Extra-
custodial use of         This official and public report is offered under Rules 803(8) and
force and the            803(20) to support assertions of historical records and provide legal
prohibition of torture   opinions of the U.N. Secretary-General formed while carrying out his
and other cruel,         mandate.
inhuman or               Also, much of it is not offered for the truth of the matter asserted.
degrading treatment
(July 20, 2017),
U.N. Doc. A/72/178
50 - Note by the
U.N. Secretary
General, Relevance
of the prohibition of    This official and public report is offered under Rules 803(8) and
torture and other        803(20) to support assertions of historical records and provide legal
cruel, inhuman or        opinions of the U.N. Secretary-General formed while carrying out his
degrading treatment      mandate.
or punishment to the
context of domestic      Also, much of it is not offered for the truth of the matter asserted.
violence (July 12,
2019), U.N. Doc.
A/74/148
51 - Amnesty
International,
"Siamak Pourzand:
                         This report is offered to demonstrate historical records of the Islamic
Persecuted to Death,
                         Republic of Iran’s conduct.
Harassed after
Death" (May 6,
2011)
52 - Amnesty
International, Health
Taken Hostage:           This report is offered to demonstrate historical records of the Islamic
Cruel Denial of          Republic of Iran’s conduct.
Medical Care in
Iran’s Prisons (2016)
53 - Working Group
on Arbitrary             This official and public report is offered under Rule 803(8) to provide
Detention, Visit to      legal opinions of the U.N. Commission on Human Rights formed in
the Islamic Republic     part while carrying out its mandate and fact-finding on an official visit
of Iran, U.N. Doc.       to the Islamic Republic of Iran.
E/CN.4/2004/3/Add.       Also, much of it is not offered for the truth of the matter asserted.
2 (June 27, 2003)
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54 - Amnesty
International 2020-
                        This report is offered to demonstrate historical records of the Islamic
2021 Iran Human
                        Republic of Iran’s conduct.
Rights Report (April
2021)
55 - Bureau of
Democracy, Human
Rights, and Labor,      This official and public report is offered under Rules 803(8) and
Country Reports on      803(20) to support assertions of historical record.
Human Rights            Also, much of it is not offered for the truth of the matter asserted.
Practices, published
February 25, 2004

56 - Expert             This exhibit is not offered for the truth of the matter asserted, but is
Declaration of          used to provide expert insight into the context of the Islamic Republic
Professor Ali Arab      of Iran’s policies and conduct, and their mistreatment of Mr. Alinejad.

57 - United for Iran,
                        This report is offered to demonstrate historical records of the Islamic
Judge Mohammad
                        Republic of Iran’s conduct.
Moghiseh

58 - United Against
Nuclear Iran,
Mohammad
Moghiseh: The           This report is offered to demonstrate historical records of the Islamic
Iranian Supreme         Republic of Iran’s conduct.
Court’s New
Hanging Judge
(November 2020)
59 - The New York
Times, Man With
Loaded Assault          This exhibit is not offered for the truth of the matter asserted but as
Rifle Arrested          contextual insight into Plaintiff’s career and political activities, and into
Outside Iranian         the historical context of the Islamic Republic’s conduct.
Writer’s Home (July
31, 2022).

60 – Declaration
Requested to be         N/A to prevent inferences as to the Declarant’s identity.
Sealed
